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 4   Attorney for Defendant
     HUSSAIN SHAHZAD
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:13-CR-00354-MCE
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO MODIFY PRETRIAL
12          vs.                                         RELEASE CONDITIONS
13   HUSSAIN SHAHZAD,
14                                 Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Christiaan Highsmith, Assistant United States Attorney, attorney for
18   plaintiff, and Michael E. Hansen, attorney for defendant Hussain Shahzad, that the pretrial
19   release conditions requiring electronic monitoring and curfew be terminated.
20          Mr. Shahzad is currently participating in a location monitoring program and has done
21   so since his release from The Effort. He has successfully completed the 90-day drug program
22   and is currently seeking employment.
23          The United States Attorney and the Pretrial Services Officer for Mr. Shahzad have no
24   opposition to the proposed change. Accordingly, Mr. Hussain Shahzad requests the Court
25   modify his pretrial release conditions.     Specifically, Pretrial Services is recommending
26   conditions 14 and 15 be deleted. All other conditions remain in effect.
27   / /
28   / /


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     Stipulation/[Proposed] Order to Modify Pretrial Release Conditions
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 1   Dated: April 29, 2014                                  Respectfully submitted,
 2                                                          /s/ Michael E. Hansen
 3                                                          MICHAEL E. HANSEN
                                                            Attorney for Defendant Hussain Shahzad
 4
     Dated: April 29, 2014                                  BENJAMIN B. WAGNER
 5                                                          United States Attorney

 6                                                          By: /s/ Michael E. Hansen for
                                                            CHRISTIAAN HIGHSMITH
 7                                                          Assistant U.S. Attorney
                                                            Attorney for Plaintiff
 8
                                                  ORDER
 9
            The Court, having received, read, and considered the stipulation of the parties, and
10
11   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.

12          IT IS SO ORDERED.

13   Dated: April 30, 2014
                                                       _____________________________________
14                                                     CAROLYN K. DELANEY
                                                       UNITED STATES MAGISTRATE JUDGE
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     Stipulation/[Proposed] Order to Modify Pretrial Release Conditions
